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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ALABAMA

                                                   X
ADAM JONES, et al.,                                 :
                                                    :      ORAL ARGUMENT REQUESTED
                             Plaintiffs,            :
                                                    :
               - against -                          :      7:19-CV-00403-RDP
                                                    :
BUZZFEED, INC., et al.,                             :
                                                    :
                             Defendants.            :
                                                   X




                     MOVANTS’ REPLY SUBMISSION IN RESPONSE
                       TO EXHIBIT B OF THE COURT’S ORDER




REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANTS’ OPPOSED MOTION TO
  STRIKE THE EXPERT REPORTS AND PRECLUDE EXPERT TESTIMONY OF
                      DR. EMILIE L. LUCCHESI




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                                    PRELIMINARY STATEMENT

        In their opposition brief (“Opposition” or “Opp.”), Plaintiffs make two principle

concessions that should resolve this Motion without more. 1 First, Plaintiffs concede that they

“do not intend to offer the opinions or testimony of Dr. Lucchesi concerning the falsity of the

BuzzFeed Article” (id. at 21 n.13). And Plaintiffs then concede, as they must, that “testifying

experts may not offer legal conclusions.” Opp. 17 (quoting Hibbett Patient Care, LLC v.

Pharmacists Mut. Ins. Co., 2017 WL 2062955, at *2 (S.D. Ala. May 12, 2017)). Since Dr.

Lucchesi’s only remaining opinions are legal conclusions about the Article’s defamatory

meaning and supposed proof of actual malice (see Mot. 10-11, 14-15), there is nothing left.

        Nonetheless, Plaintiffs persist, insisting that Dr. Lucchesi is qualified and somehow

should be permitted to give testimony about framing and stigma communication in the Article.

Opp. 2. But Plaintiffs do not rebut – or even acknowledge – the many judicial decisions

categorically barring experts from testifying about linguistic concepts like framing in defamation

cases. See Mot. 10-17. And they have failed to identify a single decision permitting expert

testimony about the meaning of an article or allowing an expert to establish a publisher’s

subjective intent through objective analysis of the publication at issue. Simply put, the law is

clear that testimony from an expert linguist is categorically inadmissible for the purpose of

proving actual malice or defamatory meaning.

                                               ARGUMENT

        A.       Dr. Lucchesi Has Withdrawn Her Testimony Regarding Falsity

        Dr. Lucchesi testified with great confidence that framing analysis demonstrates that “the

[A]rticle is false.” Dep. Tr. 61:1-3. But Plaintiffs now concede that they “do not intend to offer


1
 Capitalized and abbreviated terms shall have the same meaning as in Defendants’ Opposed Motion to Strike the
Expert Report and Preclude Expert Testimony of Dr. Emilie Lucchesi. See Doc. 51 (the “Motion” or “Mot.”).



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[her opinions] concerning the falsity of the BuzzFeed Article.” Opp. 21 n.13. Defendants

welcome this concession and ask that it be included in the order disposing the Motion.

       B.      Dr. Lucchesi’s Testimony Should Be Excluded Because She Purports To
               Opine On The Ultimate Legal Questions In This Case

       Defendants have demonstrated that Dr. Lucchesi’s testimony should be excluded because

she impermissibly seeks to opine on legal issues in this case – including whether Defendants

acted with actual malice and whether the Article is susceptible of certain defamatory meanings.

In their Opposition, Plaintiffs concede both that “Dr. Lucchesi’s opinions may include some

legal conclusions” (Opp. 16) and that “testifying experts may not offer legal conclusions.” Id. at

17 (quoting Hibbett Patient LLC, 2017 WL 2062955, at *2). While Plaintiffs assert that Dr.

Lucchesi should nonetheless be allowed to offer “expert opinions on framing,” they fail to

explain how that testimony differs from the “legal conclusions” she admittedly “may not offer.”

Id. at 16. Whether described as an opinion about “framing” or “defamatory meaning” or

“intent,” Dr. Lucchesi’s testimony amounts to the same thing – she is trying to tell this Court

how to read the Article and, in doing so, how to decide dispositive legal questions in this case.

       Because the only opinions offered by Dr. Lucchesi are legal conclusions, she should be

precluded from offering any expert testimony on this ground alone.

       C.      Dr. Lucchesi’s Testimony About the Meaning of the Article Is Not Helpful

       Next, Dr. Lucchesi’s opinions about the meaning of the Article must also be excluded –

like all expert opinions on this subject – because defamatory meaning depends on what a

“reasonable reader” thinks, not the complicated analysis of an elite academic. In their Motion,

Defendants cited many cases from courts all over the United States excluding linguistic experts

for just this reason. Mot. 15-16.




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       In response, Plaintiffs simply ignore those cases. Instead, they discuss Dr. Lucchesi’s

expertise at framing analysis at length, insisting that the trier of fact “needs” Dr. Lucchesi’s

expert testimony in order to “understand how the Defendants can write and manipulate words in

a way to affect the meaning of the BuzzFeed Article.” Opp. 21. But courts have rejected this

very argument time and again because “a layman is perfectly capable of reading [a] book” – or,

in this case, a news article written for a general audience – “without the ‘help’ of a linguistics

expert.” World Boxing v. Cosell, 715 F. Supp. 1259, 1264-65 (S.D.N.Y. 1989). See also Shelton

v. Bauer Publ’g Co., 2016 WL1574025, at *10 n.10 (C.D. Cal. Apr. 18, 2016) (holding expert

opinion from linguist was not “helpful or necessary in discerning the natural and probable effect

upon the mind of the average reader”) (citation and internal quotation marks omitted); Tilton,

938 F. Supp. at 753 (holding expert testimony on the implied meaning of publication “relates to

matters within the common knowledge of an average juror”); Mot. 15 n.12 (citing additional

cases). Simply put, Dr. Lucchesi’s expertise in framing is unhelpful as a matter of law.

       In fact, Plaintiffs have failed to identify any judicial decisions allowing an expert to

testify for the purpose of elucidating a publication’s defamatory meaning. And Plaintiffs’

Opposition makes clear why that is the case: the framing analysis proposed by Dr. Lucchesi

would be actively misleading (in addition to being merely unhelpful). Plaintiffs assert that Dr.

Lucchesi will expose hidden meanings in the Article or – as Plaintiffs put it in a related context –

“uncover[] the veil of the language and structure used.” Opp. 20. See also id. at 20-21 (“Dr.

Lucchesi can inform the trier of fact, through her content analysis[,] as to the effect of priming

would have on determining the defamatory meaning of the BuzzFeed Article .…”). But it is Dr.

Lucchesi, not Defendants, who is trying to “prime readers to think a certain way” (Opp. 21) and

courts have uniformly refused to allow experts to impose their views in this fashion. The




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question of whether a publication is defamatory is to be discerned by the “reasonable reader,” not

by an expert’s “virtually incomprehensible pseudo-scientific jargon.” Cosell, 715 F. Supp. at

1264. This Court should reject the invitation to be the first to allow experts to opine on the

subject of defamatory meaning.

       D.      Dr. Lucchesi’s Testimony About Defendants’ Intent Is Unhelpful

       This Court should similarly preclude Dr. Lucchesi from testifying about Defendants’

intent, whether for the purpose of proving actual malice or anything else. In their Motion,

Defendants argued that Dr. Lucchesi should not be permitted to testify about whether Defendants

acted with actual malice in publishing the Article because expert testimony does not “assist the

jury in performing its task of determining what Defendants state of mind was.” Tilton v. Capital

Cities/ABC, 938 F. Supp. 751, 753 (N.D. Okla. 1995). As with the defamatory meaning

argument, Defendants cited several cases reaching this conclusion. Mot. 12. Rather than engage

with this legal authority, Plaintiffs attempt an evasive two-step maneuver.

       Plaintiffs’ first step is to raise spurious questions about whether the actual malice

standard applies in this case. See, e.g., Opp. 7 (“Alabama courts … do not appear to have

expressly adopted the blanket rule that all law enforcement personnel, regardless of rank and

responsibility, are public officials for defamation purposes.”); id. at 8 (“Instead of applying a

blanket rule, trial courts should analyze the public official status [sic] on a case-by-case basis.”).

But these hypothetical musings are irrelevant because the law could not be clearer. For the

avoidance of doubt, in the United States of America, a public official must prove with clear and

convincing evidence that defendants acted with actual malice, i.e. a subjective awareness of

falsity or probably falsity. See N.Y. Times v. Sullivan, 376 U.S. 254, 256 (1964). Despite this,

Plaintiffs speculate that actual malice might not always apply based on dubious inferences from a

handful of decisions that applied the standard without hesitation or questioning it. See, e.g., Opp.


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8 (“[I]t appears that the Alabama Court of Civil Appeals hinted that it may take an alternate

position to the general blanket rule.”). And they cite a concurrence by Justice Thomas asking the

Supreme Court to revisit whether public figures should ever be required to prove actual malice –

although the views expressed in this concurrence are self-evidently not the law. Opp. 12 (citing

McKee v. Cosby, 139 S. Ct. 675 (2019)). If there were any doubt, Sullivan’s status as the law of

the land was confirmed once again earlier this month when the Supreme Court denied a petition

for certiorari seeking to overturn the actual malice requirement for public figures, over the

dissents of Justice Thomas and Justice Gorsuch. See Berisha v. Lawson, 2021 WL 2742816

(U.S. July 2, 2021). There is simply no question that the actual malice standard applies to every

defamation case involving public officials when their official conduct is at issue. 2

         And despite Plaintiffs’ efforts to sow confusion, law enforcement officers are

quintessential public officials who are always required to prove actual malice – beginning with

the plaintiff in Sullivan, who was a commissioner in charge of the Montgomery, Alabama police

department. See N.Y. Times v. Sullivan, 376 U.S. 254, 256 (1964). Since then, scores of “courts

have uniformly held that a patrolman or low-level police officer is a ‘public official’ for the

purpose of the New York Times privilege.” Gomes v. Fried, 136 Cal. App. 3d 924, 933 (1st Dist.

Ct. App. 1982). 3 Plaintiffs do not identify a single case holding or seriously suggesting


2
 Plaintiffs also claim that “Alabama substantive law will apply in this case.” Opp. 5. Defendants take no position
on this choice of law issue and will address it, if necessary, in subsequent filings.
3
  See, e.g, Time Inc. v. Pape, 401 U.S. 279, 284 (1971); St. Amant Smith v. Thompson, 390 U.S. 727, 730 (1968);
Huntsville Times Co., 888 So. 2d 492, 497 (Ala. 2004); Brown v. W.R.M.A. Broad. Co., 238 So. 2d 540, 541 (Ala.
1970); Gary v. Crouch, 923 So. 2d 1130, 1135 (Ala. Civ. App. 2005); Mediaone, L.L.C. v. Henderson, 592 S.W.3d
933, 941 (Ct. App. Tex. 2019); D’Allesandro v. City of Albany, 2007 U.S. Dist. LEXIS 108338, at *56-66
(N.D.N.Y. July 3, 2007); De Angelis v. Hill, 847 A.2d 1261, 1268 (N.J. 2004); Brady v. Ottaway Newspapers, Inc.,
84 A.D.2d 226, 240 n.5 (N.Y. 2d Dep’t 1981) (“The matter is well settled in this State, a police officer is a public
official” for actual malice purposes.); Orr v. Lynch, 60 A.D.2d 949, 950 (N.Y. 3d Dep’t 1978); Malerba v. Newsday,
Inc., 64 A.D.2d 623, 624 (2d Dep’t 1978); Medina v. City of Hialeah, 2003 U.S. Dist. LEXIS 4890, at *6 (S.D. Fla.
Mar. 19, 2003) (“[A] police officer is deemed a public figure as a matter of law … As such, criticism of him relating
to his official conduct is actionable only upon a showing of ‘actual malice.’”); McCoy v. Hearst Corp., 727 P.2d
711, 728 (Cal. 1986); Cibenko v. Worth Publishers, Inc., 510 F. Supp. 761, 765 (D.N.J. 1981) (“As a transit police


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otherwise. To the extent that Plaintiffs are asking this Court to deviate from binding authority, it

should decline to do so – as other district courts have done when faced with similar requests. 4

         Plaintiffs’ second step is to draw attention away from the many cases holding that expert

testimony is not admissible for the purposes of proving actual malice by suggesting that the

question of intent may also be relevant to other issues, including common-law malice or

defamation by implication. Opp. 18-19. 5 On each count, Plaintiffs suggests that Dr. Lucchesi

should be permitted to testify about “the language and structure used in the BuzzFeed Article”

because these “may be considerations the trier of fact can use in its determination of intent.”

Opp. 19. And, Plaintiffs argue, jurors cannot understand Defendants’ intent unless Dr. Lucchesi

“illuminate[s] the concept of framing and how it was applied in the BuzzFeed Article such that

the trier of fact can understand such inferences.” Id. But this argument fails across the board

because intent is never a proper subject for expert testimony – regardless of whether it is intent to


officer, Cibenko is a public official.”); Boone v. Sunbelt Newspapers, Inc., 556 S.E.2d 732, 737 n.3 (Ct. App. S.C.
2001); Tomkiewicz v. Detroit News, Inc., 635 N.W.2d 36, 43 (Ct. App. Mich. 2001); McKinley v. Baden, 777 F.2d
1017, 1021 (5th Cir. 1985); Dunlap v. Phila. Newspapers, Inc., 448 A.2d 6, 15 (Pa. Sup. Ct. 1982); Gray v. Udevitz,
656 F.2d 588, 591 (10th Cir. 1981) (“[Plaintiff’s] status as a police officer … made him a public official. Street
level policemen, as well as high ranking officers, qualify as public officials”); Jurkowski v. Crawley, 637 P.2d 56,
58-59 (Okla. 1981); Rosales v. City of Eloy, 593 P.2d 688, 689-90 (Ariz. App. Ct. 1979) (“[A] police officer was a
‘public official’ under the law governing libel.”); Delia v. Berkey, 395 A.2d 1189, 1192 (Ct. Special App. Ma.
1978); Kidder v. Anderson, 354 So. 2d 1306, 1307-08 (La. 1978); Racciotti v. Zinn, 550 S.W.2d 217, 225 (Ct. App.
Mo. 1977); Hirman v. Rogers, 257 N.W.2d 563, 566 (Minn. 1977); NAACP v. Moody, 350 So. 2d 1365, 1369 (Miss.
1977); Moriarty v. Lippe, 294 A.2d 326, 330-31 (Conn. 1972); Scelfo v. Rutgers Univ., 282 A.2d 445, 449 (N.J. Sup.
Ct. 1971) (“[T]wo municipal policemen whose powers are constitutionally and statutorily derived, are ‘public
officials’ and as such fall squarely within the ‘actual malice’ requirement.”); Jackson v. Filliben, 281 A.2d 604, 605
(Del. 1971); Coursey v. Greater Niles Township Pub. Corp., 239 N.E.2d 837, 841 (Ill. 1968) (“[T]he plaintiff is
within the ‘public official’ classification. Although as a patrolman he is the lowest in rank of police officials and
would have slight voice in setting departmental policies, his duties are peculiarly governmental in character and
highly charged with the public interest.”).
4
  See, e.g., Palin v. N.Y. Times Co., 482 F. Supp. 3d 208, 214-15 (S.D.N.Y. 2020) (declining request to forego
application of the actual malice standard in public figure defamation case); Moore v. Cecil, 2021 WL 1208870, at *1
(N.D. Ala. Mar. 31, 2021) (same).
5
  Common-law malice may be relevant in this action if Defendants raise a defense of qualified immunity in lieu of
(or in addition to) seeking dismissal for lack of actual because common-law malice – i.e., “a desire and intention to
injure” – is required to overcome qualified immunity. Wiggins v. Mallard, 905 So. 2d 776, 784 (Ala. 2004). And to
the extent that Plaintiffs have raised a claim of defamation by implication, they will be required to show that
Defendants “intended to imply or were reckless toward the implications” of the allegedly defamatory publication.
Finebaum v. Coulter, 854 So. 2d 1120, 1125 (Ala. 2003).


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publish a false statement (i.e., actual malice), intent to harm (i.e., common law malice) or intent

to convey a certain implication. In all cases, “[c]ourts routinely exclude as impermissible expert

testimony as to intent, motive or state of mind.” Siting v. Or. State Bd. of Higher Educ., 927 F.

Supp. 2d 1069, 1078 (D. Ore. 2013). This is because:

         Expert testimony as to intent, motive, or state of mind offers no more than the
         drawing of an inference from the facts of the case. The jury is sufficiently
         capable of drawing its own inferences regarding intent, motive or state of mind
         from the evidence and permitting expert testimony on this subject would be
         merely substituting the expert’s judgment for the jury’s and would not be helpful
         to the jury.

Id. Because any and all expert testimony about Defendants’ intent is categorically unhelpful, this

Court should preclude Dr. Lucchesi from testifying about Defendants’ intent for any purpose in

this defamation action – as other courts have done. See Mot. 12.

         Another fatal flaw in the argument that Dr. Lucchesi should be permitted to testify about

Defendants’ intent is that she lacks the basic factual foundation needed to offer credible

testimony on this subject. Plaintiffs assert that “the concept of framing boils down to the writer

and publisher controlling what the reader is exposed to in the way the writer wants the exposure

to occur.” Opp. 2. But Dr. Lucchesi’s framing analysis disregards the evidence most likely to

show what Defendants actually intended when they published the Article – i.e.,

contemporaneous emails, drafts of the Articles and deposition testimony. See Dep. Tr. 55:7-20,

84:9-85:23, 143:17-19, 269:3-25. 6 Instead of relying on the most pertinent fact evidence, Dr.



6
 The only reference to this body of evidence in Plaintiffs’ opposition is a fleeting reference to two documents
produced in discovery that Plaintiffs cite as evidence that “[r]eporters, like Katie Baker, understand and use frames.”
Opp. 20. But these documents are irrelevant because Dr. Lucchesi had never seen them at the time she issued her
Report. Dep. Tr. 55:7-20, 143:17-19, 269:3-25. Even if these documents were relevant, they do not remotely
suggest that Defendants practiced (or were even aware of) the academic discipline of framing because they are
routine communications that refer colloquially to issues relating to the “framing” or “angle” of an article. As Dr.
Lucchesi testified at her deposition, journalists are generally unaware of academic framing concepts. See, e.g., Dep.
Tr. 82:11-14 (“Q: Is it the case that people sit around in newsrooms and talk about frames? A: They won’t – no.
They won’t be able to name, I’m using this – the institutional frame.”). Since there is no evidence for Plaintiffs’


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Lucchesi promises to “uncover[] the veil of the language and structure [of the Article] in order to

illuminate facts concerning the actual intent, or at least the recklessness, of Defendants” – or (in

plain English) she intends to opine that Defendants had bad intent based on nothing more than

her framing analysis of the Article. But this is not a legitimate factual basis for providing an

opinion about what Defendants actually thought. See Mot. 13.

         Finally, Plaintiffs suggest that Dr. Lucchesi should be permitted to testify about

“journalistic standards” because “journalistic standards may assist the trier of fact in determining

whether the Defendants had an intent to avoid the truth” (Opp. 19-20), but this argument falls

apart for a number of reasons. First and foremost, Dr. Lucchesi’s testimony about what she

believes Defendants should have done is not relevant to actual malice – the controlling standard

in this case – because actual malice “requires more than a departure from reasonably prudent

conduct.” Mot. 11. Moreover, Plaintiffs fail to identify a single decision permitting an expert to

testify for the purpose of demonstrating that failure to abide by journalistic standards constitutes

of actual malice. Opp. 19-20. Even assuming arguendo that specific failures to abide by

journalistic standards might have a limited bearing on actual malice in some cases, Dr.

Lucchesi’s expert testimony should still be excluded because her opinion focuses on academic

“framing” and “stigma” analysis – but does not specify what “journalistic standards” Defendants

were required to follow. For instance, she asserts that “[t]he investigators’ names should never

have been included in this piece,” but fails to identify any generally accepted journalistic

standard that would prohibit journalists from naming the officers responsible for conducting

controversial police investigations. See Report 29. This is presumably because there is no such




contention that Defendants consciously used framing techniques, there is no basis for their claim that “the trier of
fact should be educated on this concept as well.” Opp. 20.



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rule. 7 For all these reasons, Dr. Lucchesi’s testimony about Defendants’ intent is unhelpful and

should be precluded.

         E.       Plaintiffs Fail to Demonstrate the Reliability of Dr. Lucchesi’s Opinion

         Dr. Lucchesi’s expert testimony must also be excluded because framing analysis is not

sufficiently reliable, for all the obvious reasons Defendants identified in their moving papers.

See Mot. 19-22. In response, Plaintiffs attempt to shoehorn Dr. Lucchesi’s opinion into four

factors traditionally associated with expert testimony, specifically:

         (1) whether the expert’s methodology can be tested; (2) whether the expert’s
         scientific technique has been subjected to peer review and publication; (3)
         whether the method has a known rate of error; [and] (4) whether the technique is
         generally accepted by the scientific community.

Opp. 14 (quoting Rink v. Cheminova, Inc., 400 F.3d 1286, 1292 (11th Cir. 2005)). But

Plaintiffs’ application of each of these factors merely underscores the many reasons why framing

analysis is not sufficiently reliable to be admitted as expert testimony.

         For instance, Plaintiffs suggest that “the method employed by Dr. Lucchesi has a known

rate of error (i.e., subjectivism is inevitable).” Opp. 15. “Inevitably subjective” is not a

meaningful rate of error for a scientific method; it is an admission that framing analysis is

inherently unreliable. No court would accept “subjectivism is inevitable” as the error rate for

legitimate expert testimony on subjects like medical reports or DNA testing, and this Court

should not accept it for Dr. Lucchesi’s framing analysis. See, e.g., Allison v. McGhan Med.

Corp., 184 F.3d 1300, 1321 (11th Cir. 1999) (excluding expert testimony with “a high potential




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 At her deposition, Dr. Lucchesi made a number of other claims about journalistic standards that were sourced to
her status as “an elite journalist,” but which are clearly not consistent with mainstream practice. See, e.g., Dep. Tr.
121:18-124:23 (testifying that it is impermissible to attribute information to “friends” or “family”); id. at 205:17-
207:11 (testifying that journalists “always have to do an institutionally driven article if there is an institutionally
driven problem” in which blame is attributed); id. at 265:18-268:20 (testifying that journalists should privilege one
contested viewpoint over another after the individuals involved are dead).



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rate of error”). Next, Plaintiffs make an ipse dixit assertion that “Dr. Lucchesi’s technique is

generally accepted,” but do not cite any authority for this proposition. Opp. 15. This is

unsurprising given that it is highly unlikely that there is any academic consensus – let along

general acceptance – that framing analysis of a news article can reliably determine its meaning or

prove whether the article was published with reckless disregard for the truth. Plaintiffs also

suggest that Dr. Lucchesi’s methodology can be tested but do not even attempt to explain how

this could be done. Id. Again, this is not surprising. Framing is so inherently subjective and

malleable that it is not hard to imagine how any “test” of Dr. Lucchesi’s interpretation of the

Article, using the same “methods,” could produce the exact opposite result. Allowing academics

like Dr. Lucchesi to testify in defamation cases would lead to a battle of literary experts – with

each expert lecturing the jury about obscure scholarly concepts in order to advance their self-

serving interpretation of the work in suit. The only purpose that these sorts of expensive

sideshows would serve is to complicate and confuse straightforward issues.

       The only factor that even arguably supports the acceptance of Dr. Lucchesi’s testimony is

that framing analysis has been peer reviewed, at least according to Dr. Lucchesi. But the fact

that framing has found some acceptance in academic circles does not mean that it is suitable for

use in litigation, which is amply reflected by the fact that no court has permitted experts to testify

about esoteric linguistic concepts in a defamation case. This Court should not be the first.

                                          CONCLUSION

       Based on the foregoing, Defendants respectfully request that this Court grant their

Motion and exclude the expert testimony and opinions of Dr. Lucchesi.




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